                                                                                                             12-35795-cgm
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                                                                                                    In re      Bierca Natalia Ramos                                                              Case No. 12-35795
                                                                                                                                      Debtor                                                                             (If known)

                                                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                         Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                    place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                    identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                    community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                    individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                        Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                    Unexpired Leases.

                                                                                                          If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                    If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                    "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                      CURRENT VALUE OF




                                                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                                                      DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                            IN PROPERTY,
                                                                                                                 TYPE OF PROPERTY                           O                DESCRIPTION AND LOCATION                                                      WITHOUT
                                                                                                                                                            N                      OF PROPERTY                                                         DEDUCTING ANY
                                                                                                                                                            E                                                                                          SECURED CLAIM
                                                                                                                                                                                                                                                        OR EXEMPTION


                                                                                                      1.    Cash on hand.                                   X
                                                                                                      2. Checking, savings or other financial               X
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                                                                                                      accounts, certificates of deposit, or shares in
                                                                                                      banks, savings and loan, thrift, building and
                                                                                                      loan, and homestead associations, or credit
                                                                                                      unions, brokerage houses, or cooperatives.


                                                                                                      3. Security deposits with public utilities,           X
                                                                                                      telephone companies, landlords, and others.

                                                                                                      4. Household goods and furnishings, including         X
                                                                                                      audio, video, and computer equipment.

                                                                                                      5. Books. Pictures and other art objects,             X
                                                                                                      antiques, stamp, coin, record, tape, compact disc,
                                                                                                      and other collections or collectibles.

                                                                                                      6.    Wearing apparel.                                X
                                                                                                      7.    Furs and jewelry.                               X
                                                                                                      8. Firearms and sports, photographic, and             X
                                                                                                      other hobby equipment.

                                                                                                      9. Interests in insurance policies. Name              X
                                                                                                      insurance company of each policy and itemize
                                                                                                      surrender or refund value of each.

                                                                                                      10. Annuities. Itemize and name each issuer.          X
                                                                                                      11. Interests in an education IRA as defined in       X
                                                                                                      26 U.S.C. § 530(b)(1) or under a qualified State
                                                                                                      tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                      Give particulars. (File separately the record(s) of
                                                                                                      any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                      12. Interests in IRA, ERISA, Keogh, or other          X
                                                                                                      pension or profit sharing plans. Give particulars.

                                                                                                      13. Stock and interests in incorporated and           X
                                                                                                      unincorporated businesses. Itemize.

                                                                                                      14. Interests in partnerships or joint ventures.      X
                                                                                                      Itemize.
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                                                                                                    In re     Bierca Natalia Ramos                                                                  Case No. 12-35795
                                                                                                                                      Debtor                                                                            (If known)

                                                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                 N                                                                                     IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                                 O                DESCRIPTION AND LOCATION                                               WITHOUT
                                                                                                                                                                 N                      OF PROPERTY                                                  DEDUCTING ANY
                                                                                                                                                                 E                                                                                   SECURED CLAIM
                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                      15. Government and corporate bonds and other               X
                                                                                                      negotiable and non-negotiable instruments.

                                                                                                      16. Accounts receivable.                                   X
                                                                                                      17. Alimony, maintenance, support, and                     X
                                                                                                      property settlement to which the debtor is or
                                                                                                      may be entitled. Give particulars.

                                                                                                      18. Other liquidated debts owing debtor                    X
                                                                                                      including tax refunds. Give particulars.

                                                                                                      19. Equitable or future interests, life estates, and       X
                                                                                                      rights or powers exercisable for the benefit of
                                                                                                      the debtor other than those listed in Schedule A -
                                                                                                      Real Property.
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                                                                                                      20. Contingent and noncontingent interests in              X
                                                                                                      estate or a decedent, death benefit plan, life
                                                                                                      insurance policy, or trust.

                                                                                                      21. Other contingent and unliquidated claims of            X
                                                                                                      every nature, including tax refunds,
                                                                                                      counterclaims of the debtor, and rights of setoff
                                                                                                      claims. Give estimated value of each.

                                                                                                      22. Patents, copyrights, and other intellectual            X
                                                                                                      property. Give particulars.

                                                                                                      23. Licenses, franchises, and other general                X
                                                                                                      intangibles. Give particulars.

                                                                                                      24. Customer lists or other compilations                   X
                                                                                                      containing personally identifiable information
                                                                                                      (as defined in 11 U.S.C. §101(41A)) provided to
                                                                                                      the debtor by individuals in connection with
                                                                                                      obtaining a product or service from the debtor
                                                                                                      primarily for personal, family, or household
                                                                                                      purposes.

                                                                                                      25. Automobiles, trucks, trailers, and other               X
                                                                                                      vehicles and accessories.

                                                                                                      26. Boats, motors, and accessories.                        X
                                                                                                      27. Aircraft and accessories.                              X
                                                                                                      28. Office equipment, furnishings, and supplies.           X
                                                                                                      29. Machinery, fixtures, equipment, and                    X
                                                                                                      supplies used in business.

                                                                                                      30. Inventory.                                             X
                                                                                                      31. Animals.                                               X
                                                                                                      32. Crops - growing or harvested. Give                     X
                                                                                                      particulars.
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                                                                                                    In re    Bierca Natalia Ramos                                                             Case No. 12-35795
                                                                                                                                    Debtor                                                                             (If known)

                                                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                      N                                                                                                    IN PROPERTY,
                                                                                                                TYPE OF PROPERTY                      O                  DESCRIPTION AND LOCATION                                                            WITHOUT
                                                                                                                                                      N                        OF PROPERTY                                                               DEDUCTING ANY
                                                                                                                                                      E                                                                                                  SECURED CLAIM
                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                                      33. Farming equipment and implements.           X
                                                                                                      34. Farm supplies, chemicals, and feed.         X
                                                                                                      35. Other personal property of any kind not          Lease of 2012 Honda CRV                                                   J                             1.00
                                                                                                      already listed. Itemize.
                                                                                                                                                           Co-signed with estranged husband
                                                                                                                                                           ***ADDED***
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                                                                                                                                                                             0                                                                          $
                                                                                                                                                                                     continuation sheets attached        Total                                     1.00
                                                                                                                                                                                     (Include amounts from any continuation
                                                                                                                                                                                       sheets attached. Report total also on
                                                                                                                                                                                             Summary of Schedules.)
                                                                                                             12-35795-cgm                 Doc 6          Filed 04/25/12                                Entered 04/25/12 15:40:35                    Main Document
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                                                                                                    B6F (Official Form 6F) (12/07)

                                                                                                             Bierca Natalia Ramos
                                                                                                     In re __________________________________________,                                                                              12-35795
                                                                                                                                                                                                                        Case No. _________________________________
                                                                                                                                    Debtor                                                                                                                         (If known)

                                                                                                          SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                     against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                     useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                     of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                     1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                     appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                     community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                               If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                     "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                               Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                     Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                     Related Data.
                                                                                                              Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                   DISPUTED
                                                                                                                CREDITOR’S NAME,                                                                                                                                                  AMOUNT
                                                                                                                 MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                IF CLAIM IS SUBJECT TO SETOFF,                                                      OF
                                                                                                               INCLUDING ZIP CODE,                                                                                                                                                 CLAIM
                                                                                                              AND ACCOUNT NUMBER                                                                           SO STATE.
                                                                                                                (See instructions above.)
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                                                                                                    ACCOUNT NO.                                                                            Co-debtor on lease
                                                                                                                                                                                           ***ADDED***
                                                                                                    Esteban I. Ramos
                                                                                                    31 Rockwell Avenue                                                                                                                                                            Notice Only
                                                                                                    Middletown, NY 10940



                                                                                                    ACCOUNT NO.         4134                                                               Consideration: Leasehold on 2012 Honda
                                                                                                                                                                                           CRV
                                                                                                    Honda Financial Services
                                                                                                                                                                                           ***ADDED***
                                                                                                    PO Box 168088                                        X                                                                                                                                      1.00
                                                                                                    Irving, TX 75016-8088



                                                                                                    ACCOUNT NO.




                                                                                                    ACCOUNT NO.




                                                                                                        _______continuation sheets attached                         0                                                                Subtotal                                 $                 1.00
                                                                                                                                                                                                                        Total                                                 $                 1.00
                                                                                                                                                                         (Use only on last page of the completed Schedule F.)
                                                                                                                                                     (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                           Summary of Certain Liabilities and Related Data.)
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                                                                                                            Bierca Natalia Ramos                                                                           12-35795
                                                                                                    In re                                                                              Case No.
                                                                                                                              Debtor                                                                              (if known)

                                                                                                            SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                     State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                     names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                     contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                     guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                            Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                               DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                               OF OTHER PARTIES TO LEASE OR CONTRACT.                                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                           NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                                    Honda Financial Services                                                      Automobile lease for 2012 Honda CRV
                                                                                                    PO Box 168088
                                                                                                    Irving, TX 75016-8088
                                                                                                    ***ADDED***
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                                                                                                    B8 (Official Form 8) (12/08)                                       Pg 6 of 8

                                                                                                                                        UNITED STATES BANKRUPTCY COURT
                                                                                                                                                       Southern District of New York
                                                                                                            Bierca Natalia Ramos
                                                                                                    In re                                                                 ,         Case No.     12-35795
                                                                                                                                   Debtor                                                             Chapter 7



                                                                                                                             CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                     PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                     secured by property of the estate. Attach additional pages if necessary.)


                                                                                                       Property No. 1
                                                                                                      Creditor's Name:                                                         Describe Property Securing Debt:
                                                                                                       CitiMortgage, Inc.                                                        Residence - L. 12460, cp.184



                                                                                                       Property will be (check one):
                                                                                                                 Surrendered                                   Retained

                                                                                                        If retaining the property, I intend to (check at least one):
                                                                                                                 Redeem the property
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                                                                                                                 Reaffirm the debt
                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                       using 11 U.S.C. §522(f)).

                                                                                                       Property is (check one):
                                                                                                                  Claimed as exempt                                           Not claimed as exempt



                                                                                                       Property No. 2 (if necessary)
                                                                                                      Creditor's Name:                                                         Describe Property Securing Debt:




                                                                                                       Property will be (check one):
                                                                                                                 Surrendered                                   Retained

                                                                                                        If retaining the property, I intend to (check at least one):
                                                                                                                 Redeem the property
                                                                                                                 Reaffirm the debt
                                                                                                                 Other. Explain _______________________________________________(for example, avoid lien
                                                                                                       using 11 U.S.C. §522(f)).

                                                                                                       Property is (check one):
                                                                                                                  Claimed as exempt                                           Not claimed as exempt
                                                                                                             12-35795-cgm             Doc 6   Filed 04/25/12       Entered 04/25/12 15:40:35             Main Document
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                                                                                                        PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                        Each unexpired lease. Attach additional pages if necessary.)


                                                                                                          Property No. 1
                                                                                                         Lessor's Name:                                 Describe Leased Property:              Lease will be Assumed pursuant
                                                                                                           Honda Financial Services                     Automobile lease for 2012 Honda        to 11 U.S.C. §365(p)(2)):
                                                                                                           PO Box 168088
                                                                                                                                                        CRV
                                                                                                           Irving, TX 75016-8088                                                                  YES              NO
                                                                                                           ***ADDED***


                                                                                                          Property No. 2 (if necessary)
                                                                                                         Lessor's Name:                                 Describe Leased Property:              Lease will be Assumed pursuant
                                                                                                                                                                                               to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                  YES              NO


                                                                                                          Property No. 3 (if necessary)
                                                                                                         Lessor's Name:                                 Describe Leased Property:              Lease will be Assumed pursuant
                                                                                                                                                                                               to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                  YES              NO
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                                                                                                          0
                                                                                                         ______ continuation sheets attached (if any)

                                                                                                        I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                        Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                              4/24/12
                                                                                                        Date:_____________________________                          /s/ Bierca Natalia Ramos
                                                                                                                                                                 Signature of Debtor




                                                                                                                                                                 Signature of Joint Debtor
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                                     Amended
               UNITED STAES BANKRUPTCY COURT
                                Southern District of New York

In re:                                                              Case No. 12-35795 (cgm)
         BIERCA NATALIA RAMOS,                                      Chapter 7

                                                       Debtor(s)



         DECLARATION UNDER PENALTY OF PERJURY BY
                   INDIVIDUAL DEBTOR


        I (We) declare under penalty of perjury that I (we) have read the foregoing Amended
Schedules B, F and G, and Debtor’s Statement of Intention, and that they are true and correct to
the best of my (our) knowledge, information and belief.


Date: April 24, 2012                              /s/ Bierca Natalia Ramos
                                                 BIERCA NATALIA RAMOS
